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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION




UNITED STATES OF AMERICA                                              PLAINTIFF

VS.                                4:05cr305-24 SWW

MARK DUANE LEE                                                        DEFENDANT(S)



                                       ORDER


      The government has filed a Motion to Revoke Conditions of Release (doc #389 ) and

two supplements to this motion (doc #404 and #405). The second supplemental motion

requesting a warrant be issued and for defendant to be held pending a revocation hearing

(doc #405) is GRANTED.

       The Clerk is directed to issue a warrant for above named defendant and deliver to the

U.S. Marshal’s office.

       The United States Marshal or the arresting officer is directed to notify the

undersigned when the defendant is in custody and a revocation hearing will be scheduled.

Government’s motions for revocation will be addressed at the hearing.

       IT IS SO ORDERED this 23rd day of March 2006.



                                          /s/ John F. Forster, Jr.
                                       U.S. MAGISTRATE JUDGE
